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                             TENTATIVE RULING
                    ISSUED BY JUDGE LAURA S. TAYLOR


         Debtor:      PEPPERTREE PARK VILLAGES 9 AND 10, LLC


         Number:      17-05137-LT7
         Hearing:     10:00 AM Thursday, September 8, 2022
       Motion:   MOTION TO DISMISS (DKT. #810) FILED ON BEHALF OF
   NORTHERN CAPITAL, INC., PEPPERTREE LAND COMPANY, DUANE SCOTT
   URQUHART


           The Court applies 11 U.S.C. § 1112(b)(1) to Northern Capital, Inc. and
   Peppertree Land Company in the respective tentatives on the Court's orders to
   show cause. The Court is not considering dismissing or converting Mr. Urquhart
   at this time.
